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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE
09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )
                                          )             Case No. CR06-026-RSL-JPD
11         v.                             )
                                          )
12   TEWOLDEBERHAN MEKONNEN,              )             DETENTION ORDER
                                          )
13               Defendant.               )
     ____________________________________ )
14
     Offenses charged:
15
            Count 1: Conspiracy to distribute cocaine base in violation of 21 U.S.C. §§
16
     841(a)(1), 841(b)(1)(A), and 846.
17
            Counts 2 through 7: Distribution of cocaine base in violation of 21 U.S.C.§§
18
     841(a)(1) and 841(b)(1)(B).
19
            Count 8: Possession of cocaine with intent to distribute in violation of 21 U.S.C.
20
     §§ 841(a)(1) and 841(b)(1)(C).
21
            Count 9: Carrying and possessing a firearm in furtherance of a drug trafficking crime
22
     in violation of 18 U.S.C. § 942(c)(1)(A)(l).
23
     Date of Detention Hearing:    February 10, 2006
24
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
25
     based upon the factual findings and statement of reasons for detention hereafter set forth,
26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 finds that no condition or combination of conditions which defendant can meet will

02 reasonably assure the appearance of defendant as required, or the safety of the community.

03         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
04          (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

05 defendant is a flight risk and a danger to the community based on the nature of the pending

06 charges. Defendant has not overcome these presumptions.

07          (2)    Defendant has stipulated to detention, but reserves the right to contest his

08 continued detention if there is a change in circumstances.

09          IT IS THEREFORE ORDERED:

10          (1)    Defendant shall be detained pending trial and committed to the custody of the

11                 Attorney General for confinement in a correction facility separate, to the

12                 extent practicable, from persons awaiting or serving sentences or being held in

13                 custody pending appeal;

14          (2)    Defendant shall be afforded reasonable opportunity for private consultation

15                 with counsel;

16          (3)    On order of a court of the United States or on request of an attorney for the

17                 government, the person in charge of the corrections facility in which

18                 defendant is confined shall deliver the defendant to a United States Marshal

19                 for the purpose of an appearance in connection with a court proceeding; and

20          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

21                 counsel for the defendant, to the United States Marshal, and to the United

22                 States Pretrial Services Officer.



                                                         A
23                 DATED this 13th day of February, 2006.

24
                                                         JAMES P. DONOHUE
25
                                                         United States Magistrate Judge
26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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